Case 1:20-cr-00068-LEK Document 62-2 Filed 05/20/22 Page 1 of 4   PageID.683




                &YIJCJU
Case 1:20-cr-00068-LEK Document 62-2 Filed 05/20/22 Page 2 of 4         PageID.684




CLARE E. CONNORS #7936                        COREY R. AMUNDSON
United States Attorney                        Chief, Public Integrity Section
District of Hawaii                            United States Department of Justice

KENNETH M. SORENSON                           JOHN D. KELLER
Chief, Criminal Division                      Principal Deputy Chief
Room 6-100, PJKK Federal Bldg.
300 Ala Moana Boulevard                       SEAN F. MULRYNE
Honolulu, Hawaii 96850                        Deputy Director, Election Crimes
Telephone: (808) 541-2850                     NICOLE R. LOCKHART
Facsimile: (808) 541-2958                     Trial Attorney
Email: ken.sorenson@usdoj.gov                 Public Integrity Section

                 IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,      )              CR. NO. 20-00068 LEK
                               )
               Plaintiff,      )              DECLARATION OF
                               )              SCOTT A. CLAFFEE
     vs.                       )
                               )
NICKIE MALI LUM DAVIS,         )
                               )
               Defendant.      )
_______________________________)

     DECLARATION OF SCOTT A. CLAFFEE, TRIAL ATTORNEY,
  U.S. DEPARTMENT OF JUSTICE, NATIONAL SECURITY DIVISION


I, Scott A. Claffee, hereby declare the following:

   1. I am a Trial Attorney in the Counterintelligence and Export Control Section

      (“CES”) of the National Security Division of the U.S. Department of Justice.

      I have served in this role since April 2016.
Case 1:20-cr-00068-LEK Document 62-2 Filed 05/20/22 Page 3 of 4         PageID.685




  2. My duties as a CES Trial Attorney include the investigation and prosecution

     of criminal offenses involving national security. Though the Foreign Agents

     Registration Act (“FARA”) Unit sits within CES, I am not a member of that

     unit.

  3. In 2019, I became aware of certain facts pertaining to Abbe Lowell that led

     me to engage with the FARA Unit regarding whether Mr. Lowell had a

     potential registration obligation.

  4. I proceeded to work with FARA Unit attorneys responsible for the civil

     administration of FARA on a Letter of Inquiry to Mr. Lowell. On or about

     April 6, 2020, I sent a Letter of Inquiry to Mr. Lowell via e-mail in

     accordance with FARA’s civil enforcement authority and practice.

  5. The facts that led me to engage with the FARA Unit were unrelated to the

     above-captioned case, and were not provided by, coordinated with, and did

     not otherwise involve any personnel from the Public Integrity Section

     (“PIN”) of the Criminal Division of the U.S. Department of Justice. Further,

     no personnel from PIN were involved in directing, influencing, or

     participating in the drafting of the Letter of Inquiry.

  6. According to a search of my electronic records, my first correspondence

     with PIN regarding the FARA inquiry to Mr. Lowell was an e-mail
Case 1:20-cr-00068-LEK Document 62-2 Filed 05/20/22 Page 4 of 4           PageID.686




      exchange on or about January 19, 2021, through which I provided PIN with

      a copy of the Letter of Inquiry that I sent on April 6, 2020.

I declare under the penalty of perjury that the foregoing is true and correct.

Executed on the 20th day of May, 2022.

                                               /s/ Scott A. Claffee
                                        Scott A. Claffee
                                        Trial Attorney
                                        Counterintelligence & Export Control Section
                                        National Security Division
                                        U.S. Department of Justice
